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 1 STEPHANIE M. HINDS (CABN 149604)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 ANDREW F. DAWSON (CABN 264421)
   ROSS WEINGARTEN (NYBN 5236401)
 5 Assistant United States Attorneys

 6           450 Golden Gate Avenue, Box 36055
             San Francisco, California 94102-3495
 7           Telephone: (415) 436-7200
             andrew.dawson@usdoj.gov
 8
     Attorneys for United States of America
 9
                                     UNITED STATES DISTRICT COURT
10
                                  NORTHERN DISTRICT OF CALIFORNIA
11
                                         SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                       ) CASE NO. 20-CR-00249 RS
                                                     )
14           Plaintiff,                              )
                                                     ) ORDER EXCLUDING TIME FROM
15      v.                                           ) AUGUST 30, 2022 TO FEBRUARY, 14, 2023
                                                     ) UNDER THE SPEEDY TRIAL ACT
16   ROWLAND MARCUS ANDRADE,                         )
                                                     )
17           Defendant.                              )
                                                     )
18                                                   )
                                                     )
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20           On August 30, 2022, the defendant Roland Marcus Andrade, represented by counsel, and the
21 United States, through counsel, appeared before the Court for a status conference in the above pending

22 criminal action. The Court set a further status conference on November 15, 2022. The parties agreed

23 that an exclusion of time under the Speedy Trial Act was appropriate from August 30, 2022 to

24 November 15, 2022.

25           On November 15, 2022, the parties appeared again for a status conference in the above pending
26 proceeding. The Court set a further status conference on February 14, 2023, at 2:30pm. The parties

27 agreed that an exclusion of time under the Speedy Trial Act was appropriate from November 15, 2022 to

28 February 14, 2023.

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 1          Pursuant to the agreement of the parties, and for good cause, the Court finds it is appropriate to

 2 exclude time from the computation of the Speedy Trial Act deadlines. Based on the representations of

 3 counsel at the status conferences regarding ongoing discovery productions and anticipated motion

 4 practice, the Court finds that an exclusion of time is necessary to permit effective preparation of counsel.

 5 Failure to grant an exclusion of time and a continuance of the matter would deny counsel the reasonable

 6 time necessary for effective preparation, taking into account the exercise of due diligence, pursuant to 18

 7 U.S.C. § 3161(h)(7)(B)(iv). The Court further finds that the ends of justice served by excluding the time

 8 from computation under the Speedy Trial Act outweigh the best interests of the public and the defendant

 9 in a speedy trial.

10          Therefore, IT IS HEREBY ORDERED that the time between and including August 30, 2022 to

11 February 14, 2023 shall be excluded from computation under the Speedy Trial Act, pursuant to 18

12 U.S.C. § 3161(h)(7)(A), (B)(ii), and (B)(iv).

13          IT IS SO ORDERED.

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16 DATED:        11/28/2022
                                                          HONORABLE RICHARD SEEBORG
17                                                        United States District Judge

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